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         Case 2:20-cr-20148-SHL *                        LED* Document 4 Filed 07/24/20                   age 1 of 2             PagelD 13
AO 442 (Rev. 11 / 1l} Arrest Warrant



                                             UNITED STATES DISTRICT COURT
                                                                        for the

                                                            Western District of Tennessee
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                   United States of America                                                                                               - :: -I
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                                    V.                                    )                                                                ") 0
                         Katrina Robinson                                 )        Case No.    20-CR-20148 SHUtmp                          ~     (/)

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           ~        ) . . ,,7
  ~'r' j?-0~                                                ARREST WARRANT
To :      Any authorized law enforcement officer


          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested)           Katrina Robinson
who is accused of an offense or violation based on the following document filed with the court:

0 Indictment               0 Superseding lndictment              0 Information        0 Superseding Information                 ~ Complaint
0 Probation Violation Petition                    0 Supervised Release Violation Petition       OViolation Notice               O Order of the Court

This offense is briefly described as follows:
  Theft and embezzlement involving goverment programs (18 U.S .C. 666), wire fraud (18 U.S .C. 1343)




                                                         ORIGINAL                 /s/ Charmiane G. Claxton
Date:          07/24/2020
                                                                                                 Issuing officer 's signature


City and state:         Memphis, Tennessee                                           Charmiane G. Claxton, U.S . Magistrate Judge
                                                                                                   Printed name and title


                                                                       Return

          This warrant was received on (date)               7-~ 'i--~o        , and the person was arrested on (date)            ?-~ q -.l ~
at (city and state)      ,Y ~            l:.---..-p. ·
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